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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                    November 02, 2022
                      UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

PAULETTE CRAWFORD,                     §
                                       §
         Plaintiff,                    §
VS.                                    § CIVIL ACTION NO. 3:22-CV-113
                                       §
CARRINGTON MORTGAGE                    §
SERVICES, LLC,                         §
                                       §
         Defendant.                    §

                                   ORDER

       Before the court is the defendant Carrington Mortgage Services, LLC’s

motion to dismiss under Rule 12(b)(5) and 12(b)(6). Dkt. 13. The motion

addresses, in part, Crawford’s failure to perfect service of process on

Carrington. Id. at 2. Crawford never requested issuance of a citation from the

Clerk of the District Court of Brazoria County before removal, nor has she

requested issuance of a summons from this court. Dkts. 2-1; 13 at 4.

Carrington removed this case on April 11, 2022, so the plaintiff’s deadline to

perfect service of process was July 10, 2022. Dkt. 1.

       Instead of perfecting service of process on Carrington, Crawford

responds that a “complaint for insufficient service of process may be waived,”

relying on out-of-circuit precedent for that proposition. Dkt. 14 at 3 (citing

Hemispherx Biopharma, Inc. v. Johannesburg Consol. Invs., 553 F.3d 1351,


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1360 (11th Cir. 2008)).

     Not to be outdone, Carrington has itself failed to follow the court’s local

rules. See Galveston District Court Rules of Practice.1 Because Carrington’s

motion to dismiss was not accompanied by a certificate of conference, see

Local Rule 6: Special Requirements for Motions to Dismiss under Rule 12(b),

the court sua sponte grants Crawford an opportunity to amend.

     The plaintiff has fourteen days from the date of this order to amend her

complaint, if so desired, and to perfect service of process on the defendant

with the live complaint and summons.

     Signed on Galveston Island this 2nd day of November, 2022.



                                    ___________________________
                                    JEFFREY VINCENT BROWN
                                    UNITED STATES DISTRICT JUDGE




     1       Available       on        Judge         Brown’s         homepage:
https://www.txs.uscourts.gov/page/united-states-district-judge-jeffreyv-brown.
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